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  7
  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10                              WESTERN DIVISION
 11
 12   SK Microworks America, Inc.         ) Case No.: 2:23-cv-10322
                                          )
 13               Plaintiff,              ) COMPLAINT FOR:
                                          )
 14         vs.                           ) PATENT INFRINGEMENT
                                          )
 15   Far Eastern New Century Corporation ) JURY TRIAL DEMANDED
      and Multi-Plastics, Inc.            )
 16                                       )
                  Defendants.             )
 17                                       )
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                                       COMPLAINT
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  1         1.     Plaintiff SK Microworks America, Inc. (“SK Microworks America”)
  2   for its Complaint against Defendants Far Eastern New Century Corporation
  3   (“FENC”) and Multi-Plastics, Inc. (“Multi-Plastics”) (collectively, “Defendants”)
  4   hereby alleges as follows:
  5                                     BACKGROUND
  6         2.     SK Microworks America is a leading manufacturer of polyester film,
  7   with its headquarters in Covington, Georgia. SK Microworks America employs
  8   over 170 employees in the United States and produces and sells various types of
  9   polyester films, including heat shrinkable film.
 10         3.     SK Microworks America’s heat-shrinkable PET film has excellent
 11   shrinkage and among other things is used as shrinkable labels for containers of
 12   various materials such as PET, PS, PE, glass, can, and others. Its shrink properties
 13   are superior to those of other materials and can thus support more appealing and
 14   clearer designs. Thanks to its uniform thickness and stable dimensions, this film is
 15   highly efficient in processes such as printing, slitting, sealing, and labeling.
 16         4.     In the face of compounding environmental crises with rising concern
 17   over climate change and resource scarcity, SK Microworks America has
 18   incorporated, and will continue to incorporate, sustainability practices and eco-
 19   conscious technology to minimize environmental footprint and waste generation.
 20   The company is committed to enhancing eco-friendly products that are recyclable
 21   and biodegradable, consistent with its “The First and Best in Eco-friendly Market”
 22   mission. Thus, SK Microworks America has developed its SK microworks
 23   Ecolabel products, a heat-shrinkable film that is compatible with every part of the
 24   PET bottle recycle system. Use of the SK microworks Ecolabel products allows
 25   provision of high quality shrink sleeves that improve recyclable PET yield and
 26   helps reduce plastic waste.
 27         5.     The Association of Postconsumer Plastic Recyclers (“APR”), a key
 28   organization recognizing recyclability of plastic film and other materials, has
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  1   recognized SK Microworks America’s Ecolabel™ film for sleeve labels as meeting
  2   or exceeding APR’s Sleeve Label Ink and Substrate for PET Bottles Critical
  3   Guidance Document requirements.
  4         6.     As discussed below, SK Microworks America’s PET films are
  5   protected by patents regarding shrink rate and recyclability. From 2020, however,
  6   on information and belief, began buying infringing materials from FENC. SK
  7   Microworks American now seeks to stop the defendants from continuing its
  8   wrongful infringement.
  9                                         PARTIES
 10         7.     SK Microworks America is an entity formed under the laws of
 11   Georgia with its principal place of business at 1000 SKC Dr, Covington, GA
 12   30014.
 13         8.     On information and belief, Defendant FENC is a Taiwanese
 14   corporation with its principal place of business at 36F, Taipei Metro Tower, 207,
 15   Tun Hwa South Road, Sec. 2, Taipei, Taiwan, R.O.C.
 16         9.     On information and belief, Defendant Multi-Plastics is an Ohio
 17   corporation with its principal place of business at 7770 N. Central Dr., Lewis
 18   Center, OH 43035-9404. On information and belief, Multi-Plastics has a regular
 19   and established place of business at 11625 Los Nietos Rd, Santa Fe Springs, CA
 20   90670.
 21         10.    On information and belief, Defendants work together to provide a
 22   heat-shrinkable polyester film for use on plastic containers (e.g., bottles).
 23                              NATURE OF THE ACTION
 24         11.    This action is for infringement of United States Patent Nos. 9,574,047
 25   (the “’047 Patent”), 8,632,865 (the “’865 Patent”), 11,008,435 (the “’435 Patent”),
 26   11,155,691 (the “’691 Patent”), 11,655,062 (the “’062 Patent”), 10,800,897 (the
 27   “’897 Patent”), and 10,800,898 (the “’898 Patent”) (collectively, the “Patents-in-
 28   Suit”) under the patent laws of the United States, 35 U.S.C. § 1, et seq.
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  1         12.    This action involves the Defendants’ manufacture, use, sale, offer for
  2   sale, and/or importation into the United States of infringing products, methods,
  3   processes, services, and systems involving heat shrinkable polyester film that
  4   infringe one or more the claims of the Patents-in-Suit.
  5                             JURISDICTION AND VENUE
  6         13.    This Court has original jurisdiction over the subject matter of this
  7   Complaint under 28 U.S.C. §§ 1331 and 1338(a) because this action arises under
  8   the patent laws of the United States, including 35 U.S.C. §§ 271, et seq.
  9         14.    Defendants are subject to personal jurisdiction in this judicial district
 10   at least because: (1) at least Defendant Multi-Plastics maintains a regular and
 11   established place of business in California; (2) at least Defendant Multi-Plastics
 12   has a registered agent for service of process in California; (3) at least Defendant
 13   Multi-Plastics has a regular and established place of business in this District; (4)
 14   Defendants have purposefully availed themselves of the privileges of conducting
 15   business in this District by, among other things, offering Defendants’ products and
 16   services to customers, business affiliates, and partners located in this judicial
 17   district; and (5) Defendants have committed acts of patent infringement of one or
 18   more of the claims of one or more of the Patents-in-Suit in this judicial district.
 19         15.    Venue in this district is proper under 28 U.S.C. §§ 1391(b) and (c) and
 20   1400(b), at least because Defendants are subject to personal jurisdiction and have
 21   committed acts of infringement in this district. Additionally, at least Defendant
 22   Multi-Plastics has a regular and established place of business in this district at
 23   11625 Los Nietos Rd, Santa Fe Springs, CA 90670, and Defendant FENC is a
 24   foreign corporation and, therefore, subject to venue in any judicial district.
 25        SK MICROWORKS’ INVENTION AND THE PATENTS-IN-SUIT
 26         16.    SK Microworks America is a leading innovator and manufacturer of
 27   polyester film. As a result of SK Microworks America’ investment in research and
 28   development and its commitment to innovation, SK Microworks America
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  1   developed a revolutionary heat-shrinkable polyester film with excellent shrinkage,
  2   which may be used as shrinkable labels for containers of various materials such as
  3   PET, PS, PE, glass, can, etc. SK Microworks America’ revolutionary heat-
  4   shrinkable film has excellent shrinkage with high machinability. SK Microworks
  5   America’ heat-shrinkable film also aims to solve environmental problems by
  6   improving the recyclability of the polyester container.
  7         17.    As a result of its innovation, SK Microworks America has been
  8   recognized as a market leader in the industry and has entered a significant license
  9   agreement with Eastman Chemical Company (an entity spun off from Eastman
 10   Kodak) in connection with SK Microworks America’s revolutionary heat-
 11   shrinkable film.
 12         18.    On February 21, 2017, the United States Patent Office (“USPTO”)
 13   duly and legally issued U.S. Patent No. 9,574,047, entitled “Heat-Shrinkable
 14   Polyester Film.” A copy of the ’047 Patent is attached hereto as Exhibit 1.
 15         19.    On January 21, 2014, the USPTO duly and legally issued U.S. Patent
 16   No. 8,632,865, entitled “Heat-Shrinkable Polyester Film.” A copy of the ’865
 17   Patent is attached hereto as Exhibit 2.
 18         20.    On May 18, 2021, the USPTO duly and legally issued U.S. Patent No.
 19   11,008,435, entitled “Method for Reproducing Polyester Container and
 20   Reproduced Polyester Chip Prepared Therefrom.” A copy of the ’435 Patent is
 21   attached hereto as Exhibit 3.
 22         21.    On October 26, 2021, the USPTO duly and legally issued U.S. Patent
 23   No. 11,155,691, entitled “Method for Reproducing Polyester Container and
 24   Polyester Film Used in the Method.” A copy of the ’691 Patent is attached hereto
 25   as Exhibit 4.
 26         22.    On May 23, 2023, the USPTO duly and legally issued U.S. Patent No.
 27   11,655,062, entitled “Heat Shrinkable Film and Preparation Method Thereof.” A
 28   copy of the ’062 Patent is attached hereto as Exhibit 5.
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                                         COMPLAINT
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  1         23.    On October 13, 2020, the USPTO duly and legally issued U.S. Patent
  2   No. 10,800,897, entitled “Heat Shrinkable Film and Method for Reproducing
  3   Polyester Container Using Same.” A copy of the ’897 Patent is attached hereto as
  4   Exhibit 6.
  5         24.    On October 13, 2020, the USPTO duly and legally issued U.S. Patent
  6   No. 10,800,898, entitled “Method for Reproducing Polyester Container and
  7   Reproduced Polyester Chip Prepared Therefrom.” A copy of the ’898 Patent is
  8   attached hereto as Exhibit 7.
  9         25.    SK Microworks America is the owner by assignment or a licensee of
 10   the Patents-in-Suit. SK Microworks America owns all rights or has licensed the
 11   rights to the Patents-in-Suit, including the right to enforce the Patents-in-Suit.
 12         26.    All maintenance fees for the Patents-in-Suit have been timely paid,
 13   and there are no fees currently due.
 14                     DEFENDANTS’ INFRINGING ACTIVITIES
 15         27.    Defendants provide heat-shrinkable polyester film for use as
 16   packaging material, which can be applied to various shapes of bottles and
 17   containers that infringe one or more claims of the Patents-in-Suit. Defendants’
 18   accused heat-shrinkable film products include, but are not limited to, FENC’s
 19   SHFTH20,      SHFTH30,      SHFTH40,       SHFTH40-UV,        SHFTH50,      SHFTQ40,
 20   SHFTU40, and SHFTU50; and Multi-Plastics’ 4BSL, 4BSH, 42WL, 42WH,
 21   42UL, 42UH, 42SL, 42SH, 42RL, and 42RH products, and all versions and
 22   variations that infringe one or more claims if the Patents-in-Suit (collectively,
 23   “Accused Heat-Shrinkable Film Products”).
 24         28.    Non-limiting examples of the Accused Heat-Shrinkable Film Products
 25   include the below products provided by Defendant Multi-Plastics:
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 22         29.   On information and belief, Defendant FENC offers for sale, sells,
 23   and/or imports the Accused Heat-Shrinkable Film Products into the United States
 24   and Defendant Multi-Plastics then distributes and/or otherwise provides the
 25   Accused Heat-Shrinkable Film Products to customers within the United States.
 26         30.   On or about September 2019, SK Microworks America sent a letter
 27   informing Defendants of SK Microworks America’s heat-shrinkable film product
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  1   for shrink sleeve label applications (then known as SKC EcolabelTM) and of
  2   Defendants’ infringement of at least the ’047 Patent and ’865 Patent, among
  3   others. In response, counsel for Defendant FENC indicated they were evaluating
  4   the identified patents relative to its products. On or about February 2021, SK
  5   Microworks America sent additional letters informing Defendants of their
  6   continued infringement of the ’865 Patent in addition to their infringement of
  7   further patents, including the ’897 and the ’898 patents. On or about May 2021,
  8   Defendant Multi-Plastics’ counsel responded to these letters indicating that it
  9   purchased raw materials from a supplier who would be in better position to answer
 10   claims of infringement. On or about July 2022, SK Microworks America
 11   responded to Defendant Multi-Plastics’ counsel seeking more information,
 12   identifying claims which Multi-Plastics’ products were believed to infringe, and
 13   offering a license to the identified patents.
 14         31.    In addition to sending these letters, SK Microworks America had
 15   numerous phone calls, and met with Defendants at industry conferences, during
 16   which they informed Defendants that Accused Heat-Shrinkable Film Products
 17   infringed SK Microworks America’ patents, including the Patents-in-Suit.
 18         32.    Despite SK Microworks America’s repeated notice, Defendants
 19   refused to cease their infringing activities. Accordingly, SK Microworks America
 20   was forced to bring this suit to protect its business and intellectual property.
 21         33.    Defendants have, and continue to, willfully, knowingly, and
 22   intentionally infringe the Patents-in-Suit.
 23                                         COUNT I
 24                  Defendants’ Direct Infringement of the ’047 Patent
 25         34.    Paragraphs 1 through 33 are incorporated by reference as if fully
 26   restated herein.
 27         35.    The ’047 Patent is a valid, enforceable, and patent eligible patent that
 28   was duly issued by the USPTO. Exhibit 1.
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                                           COMPLAINT
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  1         36.    SK Microworks America is a licensee of the ’047 Patent with full
  2   rights to pursue recovery of royalties for damages for infringement, including full
  3   rights to recover past and future damages.
  4         37.    On information and belief, Defendants have directly infringed
  5   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
  6   ’047 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
  7   limitation, making, using, selling, offering for sale, and/or importing one or more
  8   of the Accused Heat-Shrinkable Film Products.
  9         38.    Claim 1 of the ’047 Patent claims:
 10         1. A heat-shrinkable polyester film having a heat shrink-age initiation
 11                 temperature of 60° C. or lower, a glass transition temperature
 12                 (Tg) of 77° C. or lower and a heat shrinkage rate of 2% or
 13                 more at 60° C.,
 14         wherein the film has a heat shrinkage rate of 15% or more at 65° C.,
 15                 42% or more at 70° C., and 70% or more at 80° C;
 16         wherein the film is prepared by random-copolymerization of one kind
 17                 of dibasic acid component with three kinds of diol
 18                 components;
 19         wherein the dibasic acid component (A1) is one of terephthalic acid
 20                 and dimethyl terephthalate; and
 21         wherein the diol components are (B1) ethylene glycol, (B2) one of the
 22                 neopentyl glycol and cyclohexanedimethanol, and (B3) a linear
 23                 diol component having three or more carbon atoms at a main
 24                 chain thereof.
 25         39.    For example, upon information and belief, Multi-Plastics’ 42SL
 26   product infringes each of the above limitations of claim 1 of the ’047 Patent. Upon
 27   information and belief, Multi-Plastics imports this product for sale and distribution
 28   from FENC.
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   1         40.    A more detailed analysis of Defendants’ infringement of claim 1 of
   2   the ’047 Patent can be found in Exhibit 8 which is incorporated herein.
   3         41.    Defendants’ have committed these acts of infringement without
   4   license or authorization.
   5         42.    Defendants’ infringement of the ’047 Patent has been, and continues
   6   to be, willful, knowing, and intentional.
   7         43.    Plaintiff has suffered economic harm because of Defendants’
   8   infringing activities in an amount to be proven at trial, but in no case less than a
   9   reasonable royalty.
  10         44.    Defendants have caused, and unless restrained and enjoined, will
  11   continue to cause irreparable injury and damage to Plaintiff for which there is no
  12   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  13   to infringe the ’047 Patent.
  14                                        COUNT II
  15                  Defendants’ Direct Infringement of the ’865 Patent
  16         45.    Paragraphs 1 through 44 are incorporated by reference as if fully
  17   restated herein.
  18         46.    The ’865 Patent is a valid enforceable, and patent eligible patent that
  19   was duly issued by the USPTO. Exhibit 2.
  20         47.    SK Microworks America is a licensee of the ’865 Patent with full
  21   right to pursue recovery of royalties for damages for infringement, including full
  22   rights to recovery past and future damages.
  23         48.    On information and belief, Defendants have directly infringed
  24   (literally and equivalently), and continue to directly infringe, at least claim 1 on the
  25   ’865 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
  26   limitation, making, using, selling, offering for sale, and/or importing one or more
  27   of the Accused Heat-Shrinkable Film Products.
  28         49.    Claim 1 of the ’865 Patent claims:
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   1         1. A heat-shrinkable polyester film having a heat-shrinkage change
   2                per degree Celsius (%/° C.) along the main shrinkage direction
   3                of 1.5 to 3.0 in the range of 60° C. to 70° C., 2.5 to 3.5 in the
   4                range of 70° C. to 80° C., 1.0 to 2.0 in the range of 80° C. to
   5                90° C., and 0.1 to 1.0 in the range of 90° C. to 100°C.,
   6         wherein the heat-shrinkable polyester film is prepared by using a
   7                copolyester composition comprising:
   8         (i) a dibasic acid component comprising a least 90 mil % of
   9                terephthalic acid residue based on 100 mil % of the dibasic
  10                acid component; and
  11         (ii) a diol component comprising (a) 1 to 20 mol % of diethylene
  12                glycol, (b) 5 to 30 mil % of neopentyl glycol, and (c) 50 to 90
  13                mol % of ethylene glycol, based on 100 mol % of the diol
  14                component.
  15         50.    For example, upon information and belief, Multi-Plastics’ 42SH
  16   product infringes each of the above limitations of claim 1 of the ’865 Patent. Upon
  17   information and belief, Multi-Plastics imports this product for sale and distribution
  18   from FENC.
  19         51.    A more detailed analysis of Defendants’ infringement of claim 1 of
  20   the ’865 can be found in Exhibit 9 which is incorporated herein.
  21         52.    Defendants have committed these acts of infringement without license
  22   or authorization.
  23         53.    Defendants’ infringement of the ’865 Patent has been, and continues
  24   to be, willful, knowing, and intentional.
  25         54.    Plaintiff has suffered economic harm because of Defendants’
  26   infringing activities in an amount to be proven at trial, but in no case less than a
  27   reasonable royalty.
  28         55.    Defendants have caused, and unless restrained and enjoined, will
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                                           COMPLAINT
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   1   continue to cause irreparable injury and damages to Plaintiff for which there is no
   2   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
   3   to infringe the ’865 Patent.
   4                                        COUNT III
   5                  Defendants’ Direct Infringement of the ’435 Patent
   6         56.    Paragraphs 1 through 55 are incorporated by reference as if fully
   7   restated herein.
   8         57.    The ’435 Patent is a valid, enforceable, and patent eligible patent that
   9   was duly issued by the USPTO. Exhibit 3.
  10         58.    SK Microworks America is the assignee of the ’435 Patent with full
  11   rights to pursue recovery of royalties for damages for infringement, including full
  12   rights to recover past and future damages.
  13         59.    On information and belief, Defendants have directly infringed
  14   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
  15   ’435 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
  16   limitation, making, using, selling, offering for sale, and/or importing one or more
  17   of the Accused Heat-Shrinkable Film Products.
  18         60.    Claim 1 of the ’435 Patent claims:
  19         1. A plastic container comprising:
  20         a polyester container, and
  21         a heat shrinkable film, which is provided at the polyester container;
  22         wherein the heat shrinkable film is shrunk by steam or hot air to wrap
  23                 the outer surface of the polyester container,
  24         wherein the heat shrinkable film comprises a copolymerized polyester
  25                 resin comprising a diol component and a dicarboxylic acid
  26                 component and
  27         has a heat shrinkage rate of 30% or more in the main shrinkage
  28                 direction upon thermal treatment at a temperature of 80° C. for
                                                  12
                                           COMPLAINT
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   1                 10 seconds and
   2         a melting point of 190° C. or higher as measured by differential
   3                 scanning calorimetry,
   4         wherein when a plurality of flakes are thermally treated at a
   5                 temperature of 200° C. to 220° C. for 60 minutes to 120
   6                 minutes, the clumping fraction is 5% or less,
   7         wherein the flakes comprise first flakes obtained by crushing the
   8                 container and the second flakes obtained by crushing the heat
   9                 shrinkable film.
  10         61.    For example, upon information and belief, Multi-Plastics’ 42SH
  11   product infringes each of the above limitations of claim 1 of the ’435 Patent. Upon
  12   information and belief, Multi-Plastics imports this product for sale and distribution
  13   from FENC.
  14         62.    A more detailed analysis of Defendants’ infringement of Claim 1 of
  15   the ’435 Patent can be found in Exhibit 10 which is incorporated herein.
  16         63.    Defendants have committed these acts of infringement without license
  17   or authorization.
  18         64.    Defendants’ infringement of the ’435 Patent has been, and continues
  19   to be, willful, knowing, and intentional.
  20         65.    Plaintiff has suffered economic harm because of Defendants’
  21   infringing activities in an amount to be proven at trial, but in no case less than a
  22   reasonable royalty.
  23         66.    Defendants have caused, and unless restrained and enjoined, will
  24   continue to cause irreparable injury and damage to Plaintiff for which there is no
  25   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  26   to infringe the ’435 Patent.
  27                                         COUNT IV
  28                 Defendants’ Induced Infringement of the ’435 Patent
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   1         67.    Paragraphs 1 through 66 are incorporated by reference as if fully
   2   restated herein.
   3         68.    On information and belief, Defendants’ knowingly and intentionally
   4   induce others to infringe at least claim 1 of the ’435 Patent in violation of 35
   5   U.S.C. § 271(b) by instructing and/or aiding others to use the Accused Heat-
   6   Shrinkable Film Products in a manner that infringes one or more claims of the ’435
   7   Patent.
   8         69.    As described above, since at least September 2019, Defendants have
   9   been aware of the Patents-in-Suit, including the ’435 Patent, and of the infringing
  10   nature of the Accused Heat-Shrinkable Film Products.
  11         70.    Despite knowledge of the ’435 Patent, Defendants continue to actively
  12   encourage, aid, and instruct their customers to implement and use the Accused-
  13   Heat-Shrinkable Film Products in ways that directly infringe the ’435 Patent (e.g.,
  14   by instructing customers how to heat-shrink the Accused-Heat-Shrinkable Film
  15   Products onto containers). Defendants do so knowingly and intending that their
  16   customers will commit infringing acts.
  17         71.    Defendants also continue to provide the Accused Heat-Shrinkable
  18   Film Products to customers, despite Defendants’ knowledge of the ’435 patent,
  19   thereby specifically intending for and inducing their customers to infringe the ’435
  20   Patent through their customers’ normal and customary use of the Accused Heat-
  21   Shrinkable Film Products.
  22         72.    Plaintiff has suffered economic harm because of Defendants’ induced
  23   infringement in an amount to be proven at trial, but in no case less than a
  24   reasonable royalty.
  25         73.    Defendants have caused, and unless restrained and enjoined, will
  26   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  27   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  28   to infringe the ’435 Patent.
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                                          COMPLAINT
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   1                                        COUNT V
   2               Defendants’ Contributory Infringement of the ’435 Patent
   3         74.    Paragraphs 1 through 73 are incorporated by reference as if fully
   4   restated herein.
   5         75.    On information and belief, Defendants have also knowingly and
   6   willfully contributed, and continue to contribute, to their customers’ direct
   7   infringement of the ’435 Patent in violation of 35 U.S.C. § 271(c) by using, selling,
   8   offering to sell, and/or importing the Accused Heat-Shrinkable Film Products to
   9   customers.
  10         76.    As described above, since at least September 2019, Defendants have
  11   been aware of the Patents-in-Suit, including the ’435 Patent, and of the infringing
  12   nature of the Accused Heat-Shrinkable Film Products.
  13         77.    As described above, Defendants provide customers with the Accused
  14   Heat-Shrinkable Film Products that are especially made and adapted for use as
  15   packaging material. The Accused Heat-Shrinkable Film Products are not a staple
  16   article of commerce and are not suitable for any non-infringing use. Use and
  17   implementation of the Accused Heat Shrinkable Film Products by Defendants and
  18   their customers infringes at least claim 1 of the ’435 Patent.
  19         78.    Plaintiff has suffered economic harm because of Defendants’
  20   contributory infringement in an amount to be proven at trial, but in no case less
  21   than a reasonable royalty.
  22         79.    Defendants have caused, and unless restrained and enjoined, will
  23   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  24   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  25   to infringe the ’435 Patent.
  26                                       COUNT VI
  27                  Defendants’ Direct Infringement of the ’691 Patent
  28         80.    Paragraphs 1 through 79 are incorporated by reference as if fully
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                                           COMPLAINT
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   1   restated herein.
   2         81.    The ’691 Patent is a valid, enforceable, and patent eligible patent that
   3   was duly issued by the USPTO. Exhibit 4.
   4         82.    SK Microworks America is the assignee of the ’691 Patent with full
   5   rights to pursue recovery of royalties for damages for infringement, including full
   6   rights to recover past and future damages.
   7         83.    On information and belief, Defendants have directly infringed
   8   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
   9   ’691 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
  10   limitation, making, using, selling, offering for sale, and/or importing one or more
  11   of the Accused Heat-Shrinkable Film Products.
  12         84.    Claim 1 of the ’691 Patent claims:
  13         1. A process for regenerating a polyester container, which comprises:
  14         providing the polyester container and a heat-shrunken polyester film
  15                 that wraps at least part of the polyester container;
  16         crushing the polyester container and the heat-shrunken polyester film
  17                 to obtain flakes; and
  18         thermally treating the flakes to produce regenerated polyester chips,
  19         wherein when the flakes are thermally treated at a temperature of 200°
  20                 C. to 220° C. for 60 minutes to 120 minutes, the clumping
  21                 fraction is 9% or less,
  22         the flakes comprise first flakes obtained by crushing the container and
  23                 second flakes obtained by crushing the heat-shrunken polyester
  24                 film,
  25         the heat-shrunken polyester film comprises a copolymerized polyester
  26                 resin comprising a diol component and a dicarboxylic acid
  27                 component, and
  28         the amount of change in Col-a (Δa) before and after the heat-shrunken
                                                 16
                                             COMPLAINT
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   1                 polyester film is dried at 210° C. for 90 minutes is 1.50 or less,
   2                 or the amount of change in Col-b (Δb) before and after the firm
   3                 is dried at 210° C, for 90 minutes is 1.50 or less.
   4         85.    For example, upon information and belief, Multi-Plastics’ 42SH
   5   product infringes each of the above limitations of claim 1 of the ’691 Patent. Upon
   6   information and belief, Multi-Plastics imports this product for sale and distribution
   7   from FENC.
   8         86.    A more detailed analysis of Defendants’ infringement of Claim 1 of
   9   the ’691 Patent can be found in Exhibit 11, which is incorporated herein.
  10         87.    Defendants have committed these acts of infringement without license
  11   or authorization.
  12         88.    Defendants’ infringement of the ’691 Patent has been, and continues
  13   to be, willful, knowing, and intentional.
  14         89.    Plaintiff has suffered economic harm because of Defendants’
  15   infringing activities in an amount to be proven at trial, but in no case less than a
  16   reasonable royalty.
  17         90.    Defendants have caused, and unless restrained and enjoined, will
  18   continue to cause irreparable injury and damage to Plaintiff for which there is no
  19   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  20   to infringe the ’691 Patent.
  21                                       COUNT VII
  22                 Defendants’ Induced Infringement of the ’691 Patent
  23         91.    Paragraphs 1 through 90 are incorporated by reference as if fully
  24   restated herein.
  25         92.    On information and belief, Defendants’ knowingly and intentionally
  26   induce others to infringe at least claim 1 of the ’691 Patent in violation of 35
  27   U.S.C. § 271(b) by instructing and/or aiding others to use the Accused Heat-
  28   Shrinkable Film Products in a manner that infringes one or more claims of the ’691
                                                   17
                                           COMPLAINT
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   1   Patent.
   2         93.    As described above, since at least September 2019, Defendants have
   3   been aware of the Patents-in-Suit, including the ’691 Patent, and of the infringing
   4   nature of the Accused Heat-Shrinkable Film Products.
   5         94.    Despite knowledge of the ’691 Patent, Defendants continue to actively
   6   encourage, aid, and instruct their customers to implement and use the Accused-
   7   Heat-Shrinkable Film Products in ways that directly infringe the ’691 Patent (e.g.,
   8   by instructing customers how to heat-shrink the Accused-Heat-Shrinkable Film
   9   Products onto containers). Defendants do so knowingly and intending that their
  10   customers will commit infringing acts.
  11         95.    Defendants also continue to provide the Accused Heat-Shrinkable
  12   Film Products to customers, despite Defendants’ knowledge of the ’691 patent,
  13   thereby specifically intending for and inducing their customers to infringe the ’691
  14   Patent through their customers’ normal and customary use of the Accused Heat-
  15   Shrinkable Film Products.
  16         96.    Plaintiff has suffered economic harm because of Defendants’ induced
  17   infringement in an amount to be proven at trial, but in no case less than a
  18   reasonable royalty.
  19         97.    Defendants have caused, and unless restrained and enjoined, will
  20   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  21   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  22   to infringe the ’691 Patent.
  23                                     COUNT VIII
  24               Defendants’ Contributory Infringement of the ’691 Patent
  25         98.    Paragraphs 1 through 97 are incorporated by reference as if fully
  26   restated herein.
  27         99.     On information and belief, Defendants have also knowingly and
  28   willfully contributed, and continue to contribute, to their customers’ direct
                                                18
                                          COMPLAINT
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   1   infringement of the ’691 Patent in violation of 35 U.S.C. § 271(c) by using, selling,
   2   offering to sell, and/or importing the Accused Heat-Shrinkable Film Products to
   3   customers.
   4         100. As described above, since at least September 2019, Defendants have
   5   been aware of the Patents-in-Suit, including the ’691 Patent, and of the infringing
   6   nature of the Accused Heat-Shrinkable Film Products.
   7         101. As described above, Defendants provide customers with the Accused
   8   Heat-Shrinkable Film Products that are especially made and adapted for use as
   9   packaging material. The Accused Heat-Shrinkable Film Products are not a staple
  10   article of commerce and are not suitable for any non-infringing use. Use and
  11   implementation of the Accused Heat Shrinkable Film Products by Defendants and
  12   their customers infringes at least claim 1 of the ’691 Patent.
  13         102. Plaintiff has suffered economic harm because of Defendants’
  14   contributory infringement in an amount to be proven at trial, but in no case less
  15   than a reasonable royalty.
  16         103. Defendants have caused, and unless restrained and enjoined, will
  17   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  18   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  19   to infringe the ’691 Patent.
  20                                       COUNT IX
  21                  Defendants’ Direct Infringement of the ’062 Patent
  22         104. Paragraphs 1 through 103 are incorporated by reference as if fully
  23   restated herein.
  24         105. The ’062 Patent is a valid, enforceable, and patent eligible patent that
  25   was duly issued by the USPTO. Exhibit 5.
  26         106. SK Microworks America is a licensee of the ’062 Patent with full
  27   rights to pursue recovery of royalties for damages for infringement, including full
  28   rights to recover past and future damages.
                                                 19
                                           COMPLAINT
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   1         107. On information and belief, Defendants have directly infringed
   2   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
   3   ’691 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
   4   limitation, making, using, selling, offering for sale, and/or importing one or more
   5   of the Accused Heat-Shrinkable Film Products.
   6         108. Claim 1 of the ’062 Patent claims:
   7         A heat shrinkable film, which comprises a polyester resin,
   8         wherein heat shrinkage characteristics of the heat shrinkable film in a
   9                 direction perpendicular to a main shrinkage direction satisfy
  10                 the following Relationships 1 and 2:
  11                 -15≤T70-65≤0                            [Relationship 1]
  12                 0≤ΔT100-95≤5                            [Relationship 2]
  13         wherein ΔTx-y is a value obtained by subtracting a heat shrinkage rate
  14                 of the heat shrinkable film in the direction perpendicular to the
  15                 main shrinkage direction after the heat shrinkable film is
  16                 immersed in a water bath for 10 second at Y° C. from a heat
  17                 shrinkage rate of the heat shrinkable film in the direction
  18                 perpendicular to the main shrinkage direction after the heat
  19                 shrinkable film is immersed in a water bath for 10 seconds at
  20                 X° C.;
  21         wherein the polyester resin comprises a dicarboxylic acid component
  22                 and a diol component;
  23         wherein the diol component comprises neopentyl glycol in an amount
  24                 of 10 to 30 mol % based on a total number of moles of the diol
  25                 component; and
  26         wherein a heat of crystallization (ΔHc) measured by differential
  27                 scanning calorimetry (DSC) of the heat shrinkable film is 0 to
  28                 30 J/g.
                                                 20
                                           COMPLAINT
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   1         109. For example, upon information and belief, Multi-Plastics’ 42SL
   2   product infringes each of the above limitations of claim 1 of the ’062 Patent. Upon
   3   information and belief, Multi-Plastics imports this product for sale and distribution
   4   from FENC.
   5         110. A more detailed analysis of Defendants’ infringement of Claim 1 of
   6   the ’062 Patent can be found in Exhibit 12, which is incorporated herein.
   7         111. Defendants have committed these acts of infringement without license
   8   or authorization.
   9         112. Defendants’ infringement of the ’062 Patent has been, and continues
  10   to be, willful, knowing, and intentional.
  11         113. Plaintiff has suffered economic harm because of Defendants’
  12   infringing activities in an amount to be proven at trial, but in no case less than a
  13   reasonable royalty.
  14         114. Defendants have caused, and unless restrained and enjoined, will
  15   continue to cause irreparable injury and damage to Plaintiff for which there is no
  16   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  17   to infringe the ’062 Patent.
  18                                        COUNT X
  19                    Defendants’ Direct Infringement of the ’897 Patent
  20         115. Paragraphs 1 through 114 are incorporated by reference as if fully
  21   stated herein.
  22         116. The ’897 Patent is a valid, enforceable, and patent eligible patent that
  23   was duly issued by the USPTO. Exhibit 6.
  24         117. SK Microworks America is the assignee of the ’897 Patent with full
  25   rights to pursue recovery of royalties for damages for infringement, including full
  26   rights to recover past and future damages.
  27         118. On information and belief, Defendants have directly infringed
  28   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
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                                           COMPLAINT
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   1   ’897 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
   2   limitation, making, using, selling, offering for sale, and/or importing one or more
   3   of the Accused Heat-Shrinkable Film Products.
   4         119. Claim 1 of the ’897 Patent claims:
   5         A heat shrinkable film, which comprises a copolymerized polyester
   6                resin comprising a diol component and a dicarboxylic acid
   7                component and
   8         has a heat shrinkage rate of 30% or more in the main shrinkage
   9                direction upon thermal treatment at a temperature of 80° C. for
  10                10 seconds and
  11         a melting point of 190° C. or higher as measured by differential
  12                scanning calorimetry.
  13         120. For example, upon information and belief, Multi-Plastics’ 42SH
  14   product infringes each of the above limitations of claim 1 of the ’897 Patent. Upon
  15   information and belief, Multi-Plastics imports this product for sale and distribution
  16   from FENC.
  17         121. A more detailed analysis of Defendants’ infringement of Claim 1 of
  18   the ’897 Patent can be found in Exhibit 13, which is incorporated herein.
  19         122. Defendants have committed these acts of infringement without license
  20   or authorization.
  21         123. Defendants’ infringement of the ’897 Patent has been and continues to
  22   be, willful, knowing, and intentional.
  23         124. Plaintiff has suffered economic harm because of Defendants’
  24   infringing activities in an amount to be proven at trial, but in no case less than a
  25   reasonable royalty.
  26         125. Defendants have caused, and unless restrained and enjoined, will
  27   continue to cause irreparable injury and damage to Plaintiff for which there is no
  28   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
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                                           COMPLAINT
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   1   to infringe the ’897 Patent.
   2                                        COUNT XI
   3                  Defendants’ Direct Infringement of the ’898 Patent
   4         126. Paragraphs 1 through 125 are incorporated by reference as if fully
   5   restated herein.
   6         127. The ’898 Patent is a valid, enforceable, and patent eligible patent that
   7   was duly issued by the USPTO. Exhibit 7.
   8         128. SK Microworks America is the assignee of the ’898 Patent with full
   9   rights to pursue recovery of royalties for damages for infringement, including full
  10   rights to recover past and future damages.
  11         129. On information and belief, Defendants have directly infringed
  12   (literally and equivalently), and continue to directly infringe, at least claim 1 of the
  13   ’898 Patent in violation of 35 U.S.C. § 271(a) by, for example and without
  14   limitation, making, using, selling, offering for sale, and/or importing one or more
  15   of the Accused Heat-Shrinkable Film Products.
  16         130. Claim 1 of the ’898 Patent claims:
  17         A process for regenerating a polyester container, which comprises
  18                 preparing the polyester container provided with a heat
  19                 shrinkable film comprising a copolymerized polyester resin
  20                 comprising a diol component and a dicarboxylic acid
  21                 component;
  22         crushing the container provided with the heat shrinkable film to obtain
  23                 flakes; and
  24         thermally treating the flakes to produce regenerated polyester chips,
  25         wherein when the flakes are thermally treated at a temperature of 200°
  26                 C. to 220° C. for 60 minutes to 120 minutes, the clumping
  27                 fraction of 5% of less; and
  28         the flakes comprise first flakes obtained by crushing the container and
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                                           COMPLAINT
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   1                 second flakes obtained by crushing the heat shrinkable film.
   2         131. For example, upon information and belief, Multi-Plastics’ 42SH
   3   product infringes each of the above limitations of claim 1 of the ’898 Patent. Upon
   4   information and belief, Multi-Plastics imports this product for sale and distribution
   5   from FENC.
   6         132. A more detailed analysis of Defendants’ infringement of Claim 1 of
   7   the ’898 Patent can be found in Exhibit 14, which is incorporated herein.
   8         133. Defendants have committed these acts of infringement without license
   9   or authorization.
  10         134. Defendants’ infringement of the ’898 Patent has been, and continues
  11   to be, willful, knowing, and intentional.
  12         135. Plaintiff has suffered economic harm because of Defendants’
  13   infringing activities in an amount to be proven at trial, but in no case less than a
  14   reasonable royalty.
  15         136. Defendants have caused, and unless restrained and enjoined, will
  16   continue to cause irreparable injury and damage to Plaintiff for which there is no
  17   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  18   to infringe the ’898 Patent.
  19                                       COUNT XII
  20                 Defendants’ Induced Infringement of the ’898 Patent
  21         137. Paragraphs 1 through 136 are incorporated by reference as if fully
  22   restated herein.
  23         138. On information and belief, Defendants knowingly and intentionally
  24   induce others to infringe at least claim 1 of the ’898 Patent in violation of 35
  25   U.S.C. § 271(b) by instructing and/or aiding others to use the Accused Heat-
  26   Shrinkable Film Products in a manner that infringes one or more claims of the ’898
  27   Patent.
  28         139. As described above, since at least September 2019, Defendants have
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                                           COMPLAINT
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   1   been aware of the Patents-in-Suit, including the ’898 Patent, and of the infringing
   2   nature of the Accused Heat-Shrinkable Film Products.
   3         140. Despite knowledge of the ’898 Patent, Defendants continue to actively
   4   encourage, aid, and instruct their customers to implement and use the Accused-
   5   Heat-Shrinkable Film Products in ways that directly infringe the ’898 Patent (e.g.,
   6   by instructing customers how to heat-shrink the Accused-Heat-Shrinkable Film
   7   Products onto containers). Defendants do so knowingly and intending that their
   8   customers will commit infringing acts.
   9         141. Defendants also continue to provide the Accused Heat-Shrinkable
  10   Film Products to customers, despite Defendants’ knowledge of the ’898 patent,
  11   thereby specifically intending for and inducing their customers to infringe the ’898
  12   Patent through their customers’ normal and customary use of the Accused Heat-
  13   Shrinkable Film Products.
  14         142. Plaintiff has suffered economic harm because of Defendants’ induced
  15   infringement in an amount to be proven at trial, but in no case less than a
  16   reasonable royalty.
  17         143. Defendants have caused, and unless restrained and enjoined, will
  18   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  19   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  20   to infringe the ’898 Patent.
  21                                      COUNT XIII
  22              Defendants’ Contributory Infringement of the ’898 Patent
  23         144. Paragraphs 1 through 143 are incorporated by reference as if fully
  24   restated herein.
  25         145. On information and belief, Defendants have also knowingly and
  26   willfully contributed, and continue to contribute, to their customers’ direct
  27   infringement of the ’691 Patent in violation of 35 U.S.C. § 271(c) by using, selling,
  28   offering to sell, and/or importing the Accused Heat-Shrinkable Film Products to
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                                          COMPLAINT
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   1   customers.
   2         146. As described above, since at least September 2019, Defendants have
   3   been aware of the Patents-in-Suit, including the ’898 Patent, and of the infringing
   4   nature of the Accused Heat-Shrinkable Film Products.
   5         147. As described above, Defendants provide customers with the Accused
   6   Heat-Shrinkable Film Products that are especially made and adapted for use as
   7   packaging material. The Accused Heat-Shrinkable Film Products are not a staple
   8   article of commerce and are not suitable for any non-infringing use. Use and
   9   implementation of the Accused Heat Shrinkable Film Products by Defendants and
  10   their customers infringes at least claim 1 of the ’898 Patent.
  11         148. Plaintiff has suffered economic harm because of Defendants’
  12   contributory infringement in an amount to be proven at trial, but in no case less
  13   than a reasonable royalty.
  14         149. Defendants have caused, and unless restrained and enjoined, will
  15   continue to cause, irreparable injury and damage to Plaintiff for which there is no
  16   adequate remedy at law. Unless enjoined by this Court, Defendants will continue
  17   to infringe the ’898 Patent.
  18                                  PRAYER FOR RELIEF
  19         WHEREFORE, SK Microworks America, respectfully requests the
  20   following relief: a
  21         1.     A judgment that Defendants have directly infringed the ’047 Patent;
  22         2.     A judgment that Defendants have directly infringed the ’865 Patent;
  23         3.     A judgment that Defendants have directly infringed the ’435 Patent;
  24         4.     A judgment that Defendants have induced infringement of the ’435
  25   Patent;
  26         5.     A judgment that Defendants have contributorily infringed the ’435
  27   Patent;
  28         6.     A judgement that Defendants have directly infringed the ’691 Patent;
                                                 26
                                           COMPLAINT
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   1         7.     A judgement that Defendants have induced infringement of the ’691
   2   Patent;
   3         8.     A judgement that Defendants have contributorily infringed the ’691
   4   Patent;
   5         9.     A judgement that Defendants have directly infringed the ’062 Patent;
   6         10.    A judgement that Defendants have directly infringed the ’897 Patent;
   7         11.    A judgement that Defendants have directly infringed the ’898 Patent;
   8         12.    A judgement that Defendants have induced infringement of the ’898
   9   Patent;
  10         13.    A judgement that Defendants have contributorily infringed the ’898
  11   Patent;
  12         14.    A judgment that awards Plaintiff all appropriate damages under 35
  13   U.S.C. § 284 for Defendants’ past infringement, and any continuing or future
  14   infringement of the Patents-in-Suit, up until the date such judgment is entered,
  15   including interest, costs, and disbursements as justified under 35 U.S.C. § 284 to
  16   adequately compensate Plaintiff for Defendants’ infringement;
  17         15.    An adjudication that Defendants’ infringement of the Patents-in-Suit
  18   has been willful and deliberate;
  19         16.    An adjudication that Plaintiff be awarded treble damages and pre-
  20   judgment interest under 35 U.S.C. § 284 as a result of Defendants’ willful and
  21   deliberate infringement of the Patents-in-Suit;
  22         17.    An adjudication that this case is exceptional within the meaning of 35
  23   U.S.C. § 285;
  24         18.    An adjudication that Plaintiff be awarded the attorneys’ fees, costs,
  25   and expenses it incurs in prosecuting this action; and
  26         19.    An adjudication that Plaintiff be awarded such further relief at law or
  27   in equity as the court deems just and proper.
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                                          COMPLAINT
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   1                             DEMAND FOR JURY TRIAL
   2         Plaintiff hereby demands a trial by jury of all issues so triable.
   3
   4   DATED: December 8, 2023                 HAYNES AND BOONE, LLP
   5
                                               By: /s/Kenneth Parker
   6                                                  Kenneth Parker
                                                      Attorneys for
   7                                                  SK Microworks America, Inc.
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